                                                                       Exhibit 6

                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                              BAL TIM ORE DIVISION

 ALARM FUNDING ASSOCIATES,
 LLC, a Maryland limited liability
 company,

              Plaintiff,
        vs.                                         Civil Action No.

 TASSIN INTEGRATED SYSTEMS,
 LLC,    a Louisiana limited liability
 company; and NICHOLAS TASSIN,
 individually,

              Defendants.

                    DECLARATION OF KATHLEEN GONZALES

Pursuant to 28 U.S.C. §1746, I hereby declare as follows:

   1. My name is Kathleen Gonzales. I am over the age of 18. I am a resident of
      Braithwaite, Lousiana. I have never been convicted of a felony or a crime of
      dishonesty. I have personal knowledge of the facts stated herein.

   2. My family owns real property in Louisiana and Mississippi. I signed two
      contracts with Tassin Integrated to install and monitor security systems at each
      property. A true and correct copy of each contract is attached hereto as Exhibits 1
      and 2.

   3. I signed the Louisiana contract on March 27, 2015. The Louisiana contract calls
      for advance quarterly payments of $87. I signed the Mississippi contract on July
      29, 2015. The Mississippi contract calls for advance annual payments of $319.

   4. I received a notice at some point after signing up with Tassin Integrated that I
      should begin making payments to an out-of-state company called Alarm
      Funding.

   5. Subsequent to my starting to make payments to Alarm Funding, I received an
      invoice from Tassin in September 2017 for the Louisiana property, which is
      located at 7067 Highway 39. A true and correct copy of that invoice is attached
      as Exhibit 3.



                                            1
6. The Tassin invoice did not make any sense to me. The invoice says it was for the
   Louisiana property, but it showed my annual payments on the Mississippi
   property. The invoice stated that I owed $87 for a quarterly payment on the
   Louisiana property. In October, I paid $87 to Tassin. A few days later, I received
   a bill for the same amount from Alarm Funding.

7. I had to call Alarm Funding to straighten out the billing situation. I provided
   Alarm Funding with a copy of Tassin's invoice and the cancelled check showing
   I had paid the invoice. I also spoke with Tassin about the billing situation with
   Alarm Funding. He told me that he was no longer using Alarm Funding to do
   his billing and that I should continue to make payments to Tassin.

8. In November, I received another monitoring bill from Tassin for December-
   February 2018. A true and correct copy of that invoice is attached hereto as
   Exhibit 4.

9. It is also my understanding that Nick Tassin did not share the access codes to my
   alarm systems with Alarm Funding or its subcontractors in order to reprogram
   my systems. Two new companies that Alarm Funding sent to check out our
   systems were not able to get into the system as administrators because they do
   not have the codes.

I declare the foregoing statements to be true and correct under penalty of perjury.




                                      Date




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                                                                                                                        Exhibit 2
                                                                                             Exhibit 3




                                   Please detach and return this coupon with your payment.


Tassin Integrated Security
                                                                                                Invoice Number: 041767



    5169    Kathleen Gonzales @ 7067 Hwy 39

  Date                              Current Account Activity                                                   Amount
 09/01/17         Previous Balance                                                                                 620.00
                  Last Payment Received -                               4443                                     - 620.00
                  Balance Forward                                                                                    0.00


                                         *** New Charzes ***
 09/15/17         Monitoring Electronic Security System                                                             87.00




                WE APPRECIATE YOUR BUSINESS!


                All Charges are Billed Quarterly for Service
                Provided From September 2017 Thru November 2017

                Please pay on or before September 15, 2017                                                         $87.00


                   For billing questions please call customer service at (504)488-9664
                                                                                            Page 1 of 1



       K. OR J. GONZALES                                                        4607
       PH. 504-914-8332
       7067 HWY. 39                                                            84-36.V654
       BRAITHWAITE, LA 70040




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  Posting Date                 Sep 14 2017
  DB/CR                        D
  Amount                       $87.00
  Item Bank
  Account                      4101445383
  Check No                     4607
  Posting Seq No               4200254171
  Business Unit Seq No 0000000000




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                                                                                                                         Invoice Date:       11/01/17
                                                                                                                         Customer Number:    5169

         Tassin Integrated Security                                                                                      Invoice Number:     042277
         P.O. Box 55355                                                                                                  Premise Phone:      504-914-8332
         Metairie, LA 70055-5355
                                                                                                                         Due Date:           11/15/17
                                                                                                                         Amount Due:         $87.00




              KATHLEEN GONZALES                                                                       858              Tassin Integrated Security
              7067 HIGHWAY 39                                                                         TS P1            P.O. Box 55355
              BRAITHWAITE, LA 70040-2205                                                                               Metairie, LA 70055-5355


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                                                                        Please detach and return this coupon with your payment.


  Tassin Integrated Security
                                                                                                                                   Invoice Number: 042277



              5169             Kathleen Gonzales @ 7067 Hwy 39

          Date                                                             Current Account Activity                                                 Amount
       11/01/17                               Previous Balance                                                                                            87.00
                                              Last Payment Received -                                         4607                                      - 87.00
                                              Balance Forward                                                                                              0.00


                                                            *** New Charges ***
       11/15/17                               Monitoring Electronic Security System                                                                      87.00




                                         WE APPRECIATE YOUR BUSINESS!


                                        All Charges are Billed Quarterly for Service
                                        Provided From December 2017 Thru February 2018

                                        Please pay on or before November 15, 2017                                                                       $87.00


                                              For billing questions please call customer service at (504)488-9664
                                                                                                                                       Exhibit 4
